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Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 1 of 11 Page |D #:

 

Ryzm Lee (SBN: 2358’79)
rlee@consumerlawcentcr com
Matthew A. Rosenthal (SBN 279334)
11er senthal@consumerlawcenter. com
Krol'm & l\/IOSS, Lt<i.

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LOS Angeles, CA 90025

Tel: (323) 988-2400

Fax: (866) 861~§390

B"RlAN` WALDVOGEL

 

IN THE UNITED STATES DISTRICT C()`URT
CENTRAL DISTRICT OF CALIFORNIA
WES’I`ERN DWISION

.LACV:§.§~HM%@UQWX)

BRIAN WALDVOGEL, ) Case No.:
)
) COMPLAINT AND DEMAND FOR
Plaintif"f, )JUR .IURY 'I`RIAL
)
V. ) (Unlawful Debt Collection Practices)
§
MEDICREDIT, INC., )
)
)
Defendam. )
)

 

 

 

BRlAN \WALDVOGEL (Plaintiff), by his attomeys, K.ROHN & MOSS, LTD., alleges
the following against MEDICREDIT, INC. (Defendant):
INTR()DUCTION
1. Count 1 of Pla;lmiff‘s Complaint is based on Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et Seq. (TCPA).
2. Count ll of the Plaintiff’s Complaint is based on Rosenthal Fair Del)t Collection

Practices Act, Cal. Civ. Cc)de § 1788 et seq. (RFDCPA).

 

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PLAINTIFF’ S CQMFLAINT

 

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Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page.Z Of 11 Page |D #

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Count 111 of Plaintii`t’ s Cornplaint is based on Telepbone Consurner Protection Act, 28
U.S.C. § 227 et Seq. (TCPA).
JURISDICTION AND VENUE
Jurisdiction of this Conrt over Counts 1 and 11 or Plaintiff’ s Coznplaint arises pursuant to
15 U.S.C. § 16921<(€1), which states that such actions may be brought and heard before
“any appropriate United States district court Witbout regard to the amount in
controversy,” and 28 U.S.C. § 1367 grants this court supplemented jurisdiction over the
state claims contained within
Jtlrisdiction of this Court over Courit 11 of Piaintiff’s Cornplaint arises pursuant to 28
U.S.C. § 1331.
Defendant conducts business in the State of California thereby establishing personal
jurisdiction
Venue is proper pursuant to 28 U.S.C. § 1391(13)(2).
PARTIES
Plaintiff is a natural person residing in West Hoiiywood, Los Angeles County,
California.
Det`endant is a business entity Witb a principal place of business in Colunibia, Missouri.
Defendant acted through its agents, employees, ofticers, members, directors, beirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers
FAC'I`UAL ALLEGATIONS
In or around 2014, Defendant began constantly and continuously places collection calls
to Plaintiff seeking and demanding payment for an alleged debt owed for medical
Services.

Plaintiff’s alleged debt arises from transactions for personal, householdz and/or family

PLAINTIPF’S EQMPLAINT

 

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Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 3 of 11 Page |D #:

purposes

Det`endant places collection calls from telephone numbers, including, but not limited to,
866~938»1379.

Defendant places coilection calls to Plaintist cellular telephone at phone number 310~
999~28XX.

Based upon the timing and frequency of Defendant’s calls and per its prior business
practices, each of Det`endant’s calls were placed using an automatic telephone diaiing
system

On or around lane 17, 2014, Plaintift` spoke with De'fendant’s representative informed
Defendant that the alleged debt had been paid, and requested that Defendant cease
placing collection calls to his cellular phone

Plaintiff never provided Defendant With any consent, express, implied or otherwise, to
receive automated collection calls from Defendant on his cellular telephone

Even if any such consent was given, Plaintiff revoked any consent, express, implied or
otherwise, to receive automated collection calls from Defendant on his celluiar
telephone

Despite Plaintift`s request to cease, Det"endant continued to place at least titty~t`ive (5 5)

collection calls to Plaintit`f.

COU`NT 1

DEFENDANT VIOLATED THE FAIR ])EBT COLLECTION PRACTICES ACT

Defendant violated the FDCPA based on the Jr"ollowing:
a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
consequence of which is to harass, oppress, or abuse Piaintiff;
b. Defendant' violated §1692€1(5) of the FDCPA by causing a telephone to ring

repeatedly or continuously with the intent to annoy Plaintiff;

PLAINTIFF’S GlQi\/iPLAlNT

 

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Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 4 of 11 Page |D #:

WPIEREFORE, Plaintiff respectfully requests judgment be entered against Det"endant for
the following:
21. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k_;
22. Costs and reasonable attorneys’ fees pursuant to the Fair l)ebt Collection Practices Act,
15 U.S.C. 1692k;

23. Any other relief that this llonorable Court deems appropriate

COUNT II

DEFENDANT VIOLATEB THE ROSENTHAL FAIR DEBT COLLECTION
PRACTICES ACT

24. Plaintiff repeats and realleges ali of the allegations in Count l of Plaintiff’s Complaint as
the allegations in Count 11 of Plaintift"s Complalnt.
25. lf)efendant violated the RFDCPA based on the following:

a, Defendant violated § 1788.1l(d) of the RFDCPA by causing a telephone to ring
repeatedly or continuously to annoy the person called;

b. Defendant violated § 1788.1 1(e) of the RFDCPA by communicating with
Plaintiff with such frequency as to be unreasonable and to constitute a
harassment to Plaintit§.

c. Dei"endant violated § 1788.17 of the RFDCPA by Jfailing to comply with the Fair
Debt Collectiou Practices, Act, 15 U.S.C. § 1692 et Seq., to wit:

l. Defendant violated §1692d of the FDCPA by engaging in conduct the
natural consequence of which is to harass, oppress, or abuse Plaintiff;

2. Defendant violated §l692d(5) of the F-DCPA by causing a telephone to
ring repeatedly or continuously with intent to annoy, harass, or abuse

Plaintiff.

PLAINTIFF’S @QMPLAI`NT

 

 

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Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 5 of 11 Page |D #:

WEREFORE, `Piaintiff respectfully requests judgment be entered against Defendant for
the following

26. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection
Practices factJ Cal. Civ. Code §§738.30(1)),

27. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
Practices Act, Cal. Civ Code § l788.30(c), and

28. Any other relief that this Honorable Court deems appropriate

COUNT IH
BEFENDANT VIOLATED THE TELEPHONE CONSUMER PR{)TECTIONS ACT

29. Det`endant’s actions alleged supra constitute numerous negligent violations ot` the TCPA,
entitling Plaintiff to an award of 3§500.00 in statutory damages for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B).

30. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or
willful violates of the TCPA, entitling Plaintii`f to an award of $1500.00 in statutory
damages for each and every violation pursuant to 47 U.S.C. § 227(1))(3)(13) and 47
U.S.C. § 227(h)(3)(C).

Wherefore, Plaintiff respectfully requests judgment be entered against Defendant for the
following:

31. Statutory damages of $500.00 for each and every negligent violation of the TCPA
pursuant to 47 U.S.C. § (b)(?>)(B);

32. Statutory damages of $i500.00 for each and every knowing and/or willful violation of
the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)($)(C);

33. All court costs, witness fees and other fees incurred; and

34. Any other relief that this lionorable Court deems appropriate

PLAINTIFF’ S €©MPLAINT

 

 

 

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DATED: February 6, 2015

this case.

 

 

Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 6 of 11 Page |D #:

RESPECTFULLY SUBMITTED,

KRO MOSS, LTD.

`i
By: /s/ /\
nysa tap \

Attorney for Plaintiff

DEMAND FOR JURY 'I`RIAL

PLEASE TAKE NOTICE that Plaintifl`, BRIAN WALDVOGEL, demands a jury trial in

PLAINTIFF‘S €©WLAINT

 

Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 7 of 11 Page |D #:14

AO 440 (Rev. 12/09} Sumznons in a Civil Action

UNrrEio STATES DlsTR;iCr Counr

for the

Central District of California

BR!AN WA£,DVOGEL

 

Plaintt;#

v.
l\/EEDiCREDlT, lNC

ft§tts m ns a our deal

 

Dej?zna’anr
SUMMONS B\l A CIVIL ACTION

TOZ (Defeuda)it' ’s name and addr'ess) Me€i§Cl'@dll iflC.
3620 interstate 79 Drlve SE
Coiumbia NEO 65201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days it you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) m you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintist attorney,
whose name and address are: Ryan Le@

Krohn & Moss, Ltd.
1047’4 Santa E\/lonioa Blvd., Suite 405
L.os Ange§es, CA 90025

lt you fail to respond, judgment by default will be entered against you for the relief demanded in the compiaint.
You also must tile your answer or motion with the courtl

Date; FEB 1 9 2015

 

 

Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 8 of 11 Page |D #:15

AO 440 (Rev. 12f09) Suminons in a Civil Action (Page 2)

Civil Action No.

PROOF OE` SERVICE
(T!tt's section should not bcjiled with the court unless required by Fed. R. Civ. P. 4 (£))

This summons for (name of individual and rata ifany)

 

was received by rne on (da:e)

Date:

t'J l personally served the summons on the individual at (place,l

 

on (daze) ; or

 

ij l left the summons at the individual’s residence or usual place of abode with marital

, a person of suitable age and discretion who resides there,

 

on (da.ce) , and mailed a copy to the individual’s last i<nown address; or

ij l served the summons on name ofiadividualj , who is

 

designated by law to accept service of process on behalf of maine ofm-ganizazion)

 

 

 

011 {daie) ; 01
ij l returned the summons unexecuted because ; or
g Ol;her (spec{j§)).'
My fees are $ for travel and $ for services, for a total of $ 0“0{>

l declare under penalty of perjury that this information is true.

 

Sel'ver ’s signature

 

P)~z'ntea’ name and title

 

Server 's address

Additional information regarding attempted service, etc:

Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 9 of 11 Page |D #:16

UNiTED STRTE:> DBSTRECT COU[R`§“, CENT§§AE DHSTRICT OF CAHFURNEA
CIVIL COVER SHEET

 

l. {a} PLA¥NT|FFS { Check box if you are representing yourself |:] )

BR|

F\N WAl,DVOGEL

DEFEN DANTS

\ MED!CREDiT, H\ZC

{ Check box if you are representing yourself m )

 

(b} County of Residence of First Listed Piaintiff Los Ange!es CA

(EXCEPT!N U,S. PLAENTIFFCASES)

(IN U.S. PLAINT{FF CASES ONLY)

County of Residence of First Listed Defendant COiurnbia, MO

 

(C) Attorneys (Firm Nome, Address and Tefephone Number} if you are
representing yourseif, provide the same information

Krohn 81 iv'loss, Ltd.; Ryan Lee, E.sq. 10474 Sar:ta Monica Bi\rd., Suite 405; Los Angeies,

CA

90025 (323) 988-2400

 

Attorneys (Fr`rm Nome, Address and Te!ephone Number) if you are
representing yoursel§, provide the same informatioo.

 

 

 

ii_ BAS|5 0§= JuRL$orCT|oN (prace an x in one box gnry_) ll§. ClrlZENSHlP OF PRINC|PAL PARTEES-For Diversity Cas@s only
(Piace an X in one box for plaintiff and one for defendant}
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of Business in Anothez State
2. U.S. Goveznment 4. Diversity [indicate Citiz:enship Citizen or Subject of a F _ .
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Defendam m of Parties in item i|i) Forelgn Country m 3 m 3 g i:} ij
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V. REQUESTED §N COMPLA|NT: JURY DEMAND: Yes [:z NO
CLASS ACT|ON under ¥".R.C\F.P. 232

EYes No

(Check "Yes" only if demanded in compiaint.)

m MONEY ¥)EMANDED 1111 COMPLAINT: $

Vl. CAUSE OF ACTION (Cite the U.S. Civ§| Statute under Which you are Hiing end write a brief statement of cause Do not cite jurisdictional statutes unless diversity,)
15 USC 1692 et seq.; Uniawfu| and Abusive Debt Col§ectiorz Pra<:tices

 

  
 

 

Vii. NATURE OF SU|T (P|ace an X in one box oniy).

 

  

  

 

        
  
    
 

   
 

  

  
   
  

   

       

  
  

 
  
   

      
          
     

       
         
      
   
    
 
 
 
   

 

    

     

  
   

 
 
   

   

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Case Number:

 

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?age 1 of 3

Case 2:15-cv-01196-ODW-.]El\/| Document 1 Filed 02/19/15 Page 10 of 11 Page |D #:17

UNBTED ST§¥TE:$ DlSTR§C"§“ COURT, CIENTRAL DllS'i‘RiC“i' 05 CALEFGRE\§EA

C§VEL COVER SHEET

Vili. VENUE: Your answers to the questions below wii| determine the division of the Cour‘c to which this case will be initially assigned 'i`his initial assignment is subject
to chenge, in accordance with rshe Court's Genera| Orders, upon review byrne Court of your Con')p|aint or Notic:e of iiernova|.

 

 

 

from state couri?

l:| Yes No

if "no, " si<ip so Question B. if “yes." check the
box to the right that applies, enter she
corresponding division in response to
Question § below and continue §rom there

  

lcluesrio\~.r e. is the oxier states, or`
one of its agencies or empioyees, a
PLA!NTIFF in this action?

:| Yes No

li "no, " skip to Question C. |f "yes," answer
Question B.i, at right

 
 

 

;¢Mv<ss-wxmr ~ \

QU`ESTi€iN C is the Umtr;d States, or
one of its agencies or empioyees, a
DEFENDANT in this action?

[:] Yes No

if "no, " skip to Question D. |f"yes," answer
Question C.‘i , at right

 

indicate the location(s) in which 50% or
reside (Checi< up to two boxes or ieave

QUESTlON A: Was this case removed _

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B.1. Do 50% or more of the defendants who reside in
the dissrict reside in Orange Co.?

men

1:| Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
{:| Orange Southern
m Riversicie or San Bernardino Easrern

 

Y&S. ‘(our case wili initiaily be assigned to the Southern Division,
if~“.nter "Southern“ in response to Question E, below, and con£inue
from there

 

check one of the boxes to the right

NO. Continue so Question B.Z.

 

B.Z. Do 50% or more of the defendants who reside in
the district reside in Riverside and/orSan Bernerdino
Counties? (Consider the two counties together.)

YES, Your case wili initiaily be assigned to the Eastem Division.
En£e? "Eastern" in response to Question E, below, and continue
from there.

 

check one of the boxes to the right

mw

  
     
   

district reside in Orange Co,?

WP

check one ofrh€ boxes to the right

NO. Your case wlil initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

   

YES. Your Case wi§l initialiy be assigned to the Southern Division.
Enter "Southern" in response to Quesi:ion ii, below, and continue
from there.

 

¥\10. Continue to Question C.2_

 

C.z. Do 50% or more of the p§a‘mtiffs who reside in the
diszric€ reside in Riverside and/or San Bernardino
Cou nties? [Consider the two counties together.)

|:] iinl;er "Eestern" in response to Question E, below, and continue

Y§S. Your case will initially be assigned to the Eastern Division.

from there

 

TY

check one ofrhe boxes to the right

 

 

more of plaintiffs Who reside in this district
blank if none of ihese choices apply.)

NO. Your case wili initially ice assigned to the Western £>ivision.
Enter "Western" in response to Question E, below. and continue
from there.

 

 

 

lndica‘€e the location(sl in Which 50% or

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D.1. ls there at ieast one

§:| Yes

 

district reside (Checi< up so two boxes, or leave blank if none of these choices

v.\,;";a" w_.@§w

if "yes," your case wil¥ initially be assigned to the
SOUTHERN DlVlSlON_
Enter "Sou'rhern" in response to Quest'lon E, below, and continue from there.

|f "no," go to question D2 zo the right

more of defendants who reside in this

 

answer in Column A D.2.

-No

if

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Enter "Western“ in response to Question E, below.

 

En‘£er "Eastern" in response to Question £, below.

if “no," your case Wiil he assigned to the WESI'ERN D|ViSiON.

is there at Eeast one answer in Column B?

[:[ \'es No

"yes,“ your case`w¥ll initially be assigned to the
EASTERN DiVlSlOl\i.

 

 

 

 

CV-?‘l E06l14}

ClVlL COVER SHEF.T

Page 2 of 3

Case 2:15-cV-01196-ODW-.]EI\/| Document 1 Filed 02/19/15 Page 11 of 11 Page |D #:18

Ul\il'l'ED STA'¥ rca DES`FRFCY COURT, CENTRAL D§STRECT OF CAL|§:O!RNM

 

CFVI¥_ COVZR SHEET
lX{a). IDENTlCAL CASES: Has this action been previously filed in this court? NO I:I YES
if yes, list case number(sl;
EX[b). RELATED CASES: ls this case related {as defined below} to any cases previously filed in this court? NO |:] Y§S

if yes, list case number(s):

 

Civil cases are related when they:

l:§ A. Arise Jr”`rorn the same or closely related transactions happening or event;
ij B. Cal| for determination of the same or substantially related or similar questions of law and fact; or

[:] C. Por other reasons would entail substantial duplication of §abor if heard by differentiudges.

Check all boxes that appiy. That cases may involve e same patent, trademarl<, or copyright is not, in itself, sui"ficient to deem cases

related
x. siGNATuRe or ATToRNEY \\ l 7
roe sELF-REPRESENTED LrTlGANT}: DATE= ' 2/6/2{"5
Notice to CounseE/Parties: The submission of this Civil Cove%heet is req®.__l_ocal thle 3-'!. This Forrn CV-71 and the information contained herein

neither replaces nor supplements the filing and service of plea ings or other papers as required by iaw, except as provided by local rules of Court. For
more detailed instructions see separate instruction sheet {CV-O7IA).

 

 

|<ey to Statisticai codes referrer to Socia§ Se<:urity Cases:

Nature of Suit Code Abbreviation Substantive $tatement of €ause infliction
Al¥ claims for health insurance benefits (Medicare) underTit|e ES, Pa:‘t A. Of the Social Security Act, as amended A|so,
351 HlA include claims by hospita|s, skilled nursing facilitiesr etc., ror certification as providers of services under the program
(42 U.S.C. 1935FF(b))
862 B!_ Ali claims for “Black Lung" benefits tinder “l"stie 4, Part B, of the Federa| Coal Mine l-lealth and Sal"ety Act of 1969. (30 U.S.C.
923} v

Al| claims filed by insured workers for disability insurance bener”rts under Tit|e 2 of the Socia| Security Act. as amended; plus

863 DlWC all claims filed for chi|d’s insurance benefits based on disability (42 U.S.C. 405 (g))

863 D;WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the 50cial Security Act, as
amended (42 U.S.C.4(}5 (g))

864 5le All claims for supplemental security income payments based upon disabi§ity filed under Title 36 of the Socia§ Security Act, as
amended

865 RSi fall claims For retirement (o|d age) and survivors benefits under "l"rtle 2 of the Social Security Act, as amended

(42 U.S.C. 405 (g))

 

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